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5 Facsimile: (310)277-5735

6 Attorneys for Michael A. McConnell, Chapter 11
  Trustee
7

8                               UNITED STATES BANKRUPTCY COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

10                                         NORTHERN DIVISION

11                                                       Case No.: 9:19-bk-11573-MB

12                                                       Chapter 11

13                                                       TRUSTEE'S NOTICE OF MOTION AND
                                                         MOTION FOR ORDER ESTABLISHING
14                                                       CLAIMS BAR DATE FOR PRE-
                                                         PETITION CLAIMS; MEMORANDUM
15                                                       OF POINTS AND AUTHORITIES;
                                                         DECLARATION OF MICHAEL A.
16                                                       MCCONNELL IN SUPPORT THEREOF

17                                                       Date: February 11, 2020
                                                         Time: 10:00 a.m.
18                                                       Place: Courtroom 202
                                                                1415 State Street
19                                                              Santa Barbara, California

20 i
                TO THE HONORABLE MARTIN R.BARASH,UNITED STATES BANKRUPTCY
21
       JUDGE,AND INTERESTED PARTIES:
22
                PLEASE TAKE NOTICE that on February 11, 2020, at 10:00 a.m., in Courtroom "202"
23
       at the United States Bankruptcy Court for the Northern District of California, Santa Barbara
24
       Division, located at 1415 State Street, Santa Barbara, California, Michael A. McConnell, the
25
       Chapter 11 trustee ofthe estate of HVI Cat Canyon, LLP (the "Trustee"), will, and hereby does,
26
       move (the "Motion")the Court, pursuant to Federal Rules of Bankruptcy Procedure("FRBP")
~>
       2002(a)(7) and 3003(c)(3) and Local Bankruptcy Rule 9013-1 for an order establishing March 31,
28
        l 570052.1,_ 26932                              1
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1 2020 (the "Claims Bax Date") as the bar date for filing proofs of claim on account ofpre-petition

2 claims(the "Motion").

3           PLEASE TAKE FURTHER NOTICE that the Motion is based on the Notice of Motion,

4 this Motion, the attached Memorandum of Points and Authorities, the Declaration of Michael A.

5 McConnell, as well as such other and further grounds as may be properly presented to the Court.

6           PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-

7 1(~(1), you are hereby advised that each interested party opposing,joining or responding to the

8 Motion must file and serve their papers on the moving party and the United States Trustee not later

9 than fourteen (14)days before the date designated for hearing. Any response to the Motion must

10 be writing, filed with the Clerk of the Court and served on the United States Trustee, 1415 State

1 1 Street, Suite 148, Santa Barbara CA,93101, and the Trustee's counsel at the address noted in the

12 upper left-hand corner of the first page of the Motion. Failure to observe this procedure may be

13 deemed by the Court to be consent to the granting of the requested relief.

14

15 DATED: January _~,2020                     DAMNING,GILL,ISRAEL               KRASNOFF,LLP

16
                                                           J~             ~ ,
17                                            By.     ~ ,
18                                                  ERIC P. ISRA L
                                                    Attorneys for Michael A. McConnell,
19                                                  Chapter 11 Trustee
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

2                                                         I.

3                                           STATEMENT OF FACTS

4           The Debtor is a Colorado corporation authorized to conduct business in the State of

5 California. It is the owner and operator of producing oil and gas wells in California. The wells are

6 located in Santa Barbara County, Orange County and Kern County.

7            On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of title 11

8 of the United States Code (the "Bankruptcy Code"). The case was originally filed in the Southern

9 District of New York. The case was transferred to the Northern District of Texas, and then later to

10 I the Central District of California.

11           On or about August 9, 2019, an Official Creditor's Committee was appointed.

12           The Debtor initially operated its business as a "debtor in possession," until on or about

13 October 16, 2019, when the Court entered its Agreed Order Granting Motion for Appointment of a

14 Chapter 11 Trustee.

15           On or about October 22, 2019, the Court approved the appointment of Michael A.

16 McConnell as the Chapter 11 trustee in this case.

17

18                                                        II.

19                                                  ARGUMENT

20           It is Anpronriate for the Court to Set a Claims Bar Date

?1           Pursuant to Federal Rule of Bankriartcy Procedure 3003(c)(3), the court "shall fix and for

22 cause shown may extend the time within which proofs of claim or interests may be filed."1

23

24
     1 Fed. R. Bankr. P. 3003(c)(3), states as follows:
25
                       (3)       Time for filing. The Court shall fix and for cause shown may
26                      extend  the time within which proofs of claim or interest may be filed.
                        Notwithstanding the expiration of such time, a proof of claim may be
27                      filed to the extent and under the conditions stated in Rule 3002(c)(2),
                       (c)(3) and (c)(4) and c(6).
28

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 1           The Trustee submits that a bar date should be set at this time in this case for the filing of

2 proofs of claim for pre-petition debts. Establishing a claims bar date in the case will aid the Trustee

3 in operating and administrating the Debtor's estate for the benefit of creditors, and in formulating

4 and confirming a plan of reorganization (as needed), negotiating sales and settlements, and other

5 dispositions in this case. In contrast, no creditor, interest holder, or party-in-interest will be

6 prejudiced by the establishment of a bar date at this time, as creditors and potential creditors will

7 receive notice ofthe Claims Bar Date and have an opportunity to file their Proofs of Claim.

8            The Trustee has been informed that a prospective buyer would like a bar date set. The

9 Trustee believes the setting of a bar date will assist in determining the number and amounts of

10 claims against the estate. Thus, the Trustee believes that it is both desirable and necessary to set

1 1 and give notice of the Claims Bar Date. The Trustee proposes that March 31,2020, be set as the

12 Claims Bar Date. A copy of the proposed Notice of Claims Bar Date Notice is attached to the

13 Declaration of Michael A. McConnell, marked as Exhibit "1"and incorporated herein by this

14 reference.

15           The Trustee has confirmed that the Committee has no opposition to setting March 31, 2020

16 I as the Claims Bar Date in this case.

17           Fed. R. Bankr. P. 2002(a)(7) provides:

18          [C]reditors shall be given not less than twenty one day's notice by mail of...the
            time fixed for filing proofs of claims pursuant to Rule 3003(c)....
19

20           The Trustee proposes to serve by first class mail a notice ofthe Claims Bar Date to all

21 known creditors, interest holders and parties-in-interest. The Trustee also requests approval by the

22 Court of the form ofthe notice of the Claims Bar Date.

23

24                                                      III.

25                                               CONCLUSION

26            WHEREFORE,the Debtor respectfully requests that this Court enter an order

27 1)establishing a bar date of March 31,2020 in this case for the filing of proofs of claim for pre-
~g ///

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1    petition claims, 2)approval ofthe form of the notice ofthe Claims Bar Date, and 3)for all other

2 ~ appropriate relief.

3

4 DATED: January~,2020                         DAMNING,GILL,ISRAEL & KRASNOFF,LLP

5

6                                              By: ',1
7                                                   ERIC P. ISRAEL
                                                    Attorneys for Michael A. McConnell,
8                                                   Chapter 11 Trustee
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  1                                D~CLAIZATION OF MICT-~AEL A. McCONN~LL

 2

 3              I, Michael A. McConnell, declare as follows:
                                                                                                    herein are
 4               1.         I am the Chapter 11 Trustee of HVI Cat Canyon, Inc. Tl~e matters stated
                                                                            matters stated on
 5 true and correct and based upon my personal knawled~e except pis to such

 6 information and belief which cj~atters I believe to be true.
                                                                                                        to the
  7             2.          If called as a witness. I could and would competently iestif'y with respect

  8 matters set Earth herein.
                                                                                                           tion
  9              3.         Y have read the Motion for OF•der Establishing Claims Bar Date for Nre-Peti
                                                                                  correct, to the best of
 1 Q Claims (the "Motion"). Each of the facts set forth in the Motion is true and

         my knowledge, information and belief.

 121             4.         A clai~~ls bar date in the case will aid me in operating and adminisir~lting t11e
                                                                                       a p11n of
 1 3 Debtor's estate for the benefit of creditors, and in f'armulating and confirming
                                                                                         ions in this case.
 14 reorganization (as needed}, negotiating sales and settlements, and other disposit
                                                                                    of the Claims Bar Date.
 15 Thus, I believe that it is bath desirable and necessary io set and };ive notice

 16 I propose that March 31, 2020, be set as the Claims Bar Date.
                                                                                                     7 believe
 17              5.         T have been informed that a prospective buyer would like a bar date set.
                                                                                   of claims agzinst the
 is  the setting of a bar date will assist in cicternlining the member and amount
                                                                                 give notice of the Claims
 1 9 estate, Thus, I believe that it is both desirable and iYccessary to set and

 20 Bar Date
                                                                                            America that the
 21               I declare under penalty of perjury under the laws of the United States of

 ~Z foregoing is tnie and. correct.
                                                                      i
 23               Executed at Fort Worth, Texas on January ~~ , 2020.

 24
 ~5

 ~g '.                                                        ICHnEL ~1. Mc ON EL

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          37005?. I 26932                                        C~
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                              EXHIBIT "1"
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Attorney or Party Name, Address, Telephone &FAX                            FOR COURT USE ONLY
Nos., State Bar No. &Email Address

ERIC P. ISRAEL (State Bar No. 132426)
eisrael@DanningGill.com
DANNING, GILL, ISRAEL & KRASNOFF, LLP
1901 Avenue of the Stars, Suite 450
Los Angeles, California 90067-6006
Telephone:(310)277-0077
Facsimile:(310) 277-5735




    Individual appearing without attorney
    Attorney for.' Michael A. McConnell
                                     U NITED STATES BANKRUPTCY COURT
                                                                          N
                        CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISIO

In re                                                                      CASE NO.: 9:19-bk-11573-MB
                                                                           CHAPTER: 11
HVI CAT CANYON, INC.,
                                                                                NOTICE OF BAR DATE FOR FILING
                                                                             PROOFS OF CLAIM IN A CHAPTER 11 CASE
                                                                                         [LBR 3003-1]

                                                                                 No hearing: LBR 9013-1(q)
                                                                           (~ Hearing information
                                                                            DATE:                 02/11/2020
                                                                            TIME:                 10:00 a.m.
                                                                            COURTROOM:            2~2
                                                                                                  1415 State Street
                                                                            ADDRESS:
                                                                                                  Santa Barbara, CA

                                                              Debtor(s).

1. Bar Date. The court has set a deadline of (date) March 31                  , 20 24 (Bar Date), for creditors in the
                                                 against the Debtor's estate.   ON OR BEFORE THE BAR DATE,
   above-referenced case to file proofs of claim
   PROOFS OF CLAIM MUST BE FILED WITH THE COURT CLERK AT:
  [~ 255 East Temple Street, Los Angeles, CA 90012
  (                                                              (~ 411 West Fourth Street, Santa Ana, CA 92701
                                                                                   Street, Santa Barbara, CA 93101
      21041 Burbank Boulevard, Woodland Hilis, CA 91367 [~ 1415 State
      3420 Twelfth Street, Riverside, CA 92501
                                                                                      tcy Court's web site at
2. Form. You may obtain a Proof of Claim form (Official Form 410)on the Bankrup
   http://www.cacb.uscourts.gov, or visit the Intake area at any division of the Court.

                                                                   but are not limited to, the following:
3. Exceptions to the Bar Date. Exceptions to the Bar Date include,
                                                                                          of any executory contract or
         (a) Executory contracts/unexpired leases. For claims arising from rejection
                                                                       the later of(a) the Bar Date or (b)30 days after the
             unexpired lease, the last day to file a Proof of Claim is
                                                        rejection of such contract  or lease or after any automatic rejection of
             date of entry of an order authorizing the
             such contract or lease. See 11 U.S.C. §§ 365(d)(4) and 502(g).

                                                                              States Bankruptcy Court for the Central District of California.
           This form is mandatory. It has been approved for use in the United

                                                                        Page 1                                      F 3003-1.NOTICE.BARDATE
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                                                                                                             is the later of
        (b) Governmental units. For claims of governmental units, the last day to file a Proof of Claim
                                                                date of the Order for Relief in this case (the  person signing
           (a)the Bar Date or (b) before 180 days after the
                                                 Order for Relief was entered on (date)   07/25/20   19       ,and  therefore
            this form has determined that the
                      s that this deadline is (date) 01/21/20  20       ). See 11  U.S.C. §§  101(27)   and 502(b)(9).
            calculate
                                                                                                                 cy Code (11
        (c) Avoidance. For claims arising from the avoidance of a transfer under chapter 5 of the Bankrupt
                                                                                      later of (a) the Bar Date or (b) 30 days
            U.S.C. § 544 and following), the last day to file a Proof of Claim is the
            after the entry of judgment avoiding the transfer.  See  11  U.S.C. § 502(h).

                                                                                                           assets and liabilities
        (d) Agreed claims. If your claim is listed on the Debtor's official bankruptcy schedules of
           (Schedules) and it is not listed as disputed,   contingen t, unliquida ted or unknown    , then  your claim is deemed
            filed in the amount set forth in those  Schedule s.  11 U.S.C.  § 1111(a).   But,  if your  claim is not listed on the
                                                                                               if you  disagree  with the amount or
            Schedules, or is listed as disputed, contingent, unliquidated or unknown, or
                                                                          d or non-prior ity), then  you  must  timely  filed a Proof
            description of your claim (e.g., its description as unsecure
            of Claim as set forth in this Notice.

                                                                                                      the ordinary course of
   1 1 U.S.C. § 503(b)(9) Claims. Claims arising from unpaid goods received by the Debtor in
                                             subject to an administr ative  expense   priority pursuant  to 11 U.S.C. §§ 507(a)(2)
   business within 20 days prepetition are
                                                                                                    by the Bar Date, modified as
   and 503(b)(9). Any creditor who wishes to assert such a claim must file a Proof of Claim
                                                                                   Debtor   has  not paid; (ii) the methods) of
   follows: Section 12 of Proof of Claim. Identify: (i) the goods for which the
                                                                          by  the Debtor (or  state that an estimated date has
   shipment; (iii) the actual dates) when those goods were received
                                                  "compute rs shipped   via  U.S. mail, received   by the Debtor at the Debtor's
   been used); (iv) the place of delivery — e.g.,
                                                                                                 the box for "Other" priority and
   warehouse on [insert estimated date]"(use a continuation sheet if necessary); and (v)
   specify that priority is under 11 U.S.C. §§ 507(a)(2) and 503(b)(9).
                                                                                             bar date for interest holders
5. Interest Holders. If the Debtor or the chapter 11 trustee believes it necessary to set a
                                preferred  stock), then, before this Notice is served, the chamber s of the presiding judge in
  (e.g., holders of common or
   this case must be contacted for further instructions.
                                                                         NE MAY RESULT IN
FAILURE OF A CREDITOR TO FILE A PROOF OF CLAIM ON OR BEFORE THE DEADLI
                            OR SUBORD INATIO N UNDER THE  TERMS  OF A PLAN OF REORGANIZATION
DISALLOWANCE OF THE CLAIM
                                                                ORS MAY WISH TO CONSULT AN
WITHOUT FURTHER NOTICE OR HEARING. 11 U.S.C.§ 502(b)(9). CREDIT
ATTORNEY TO PROTECT THEIR RIGHTS.


Date:                                                       By:
                                                                  Signature of Debtor, chapter 11 trustee, or their attorney


                                                            Name: ERIC P. ISRAEL
                                                                  Printed name of Debtor, chapter 11 trustee, or their attorney




                                                                                                Court for the Central District of California.
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                                       PROOF OF SERVICE OF DOCUMENT
                                                                                           business address is:
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My



                                                                                   FOR FILING PROOFS OF CLAIM
A true and correct copy of the foregoing document entitled: NOTICE OF BAR DATE
                                                                       (a) on the judge in chambers in the form and
IN A CHAPTER 11 CASE [LBR 3003-1] will be served or was served
manner required by LBR 5005-2(d); and (b) in the manner  stated below:

                                                                                                    to controlling General
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
                                                                                    hyperlink  to the document. On (date)
Orders and LBR, the foregoing document will be served by the court via NEF and
                     checked the CM/ECF docket for this bankrupt     cy case or adversar y proceedi   ng and determined that
                                                        List to receive NEF transmis sion  at the email  addresses stated
the following persons are on the Electronic Mail Notice
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:                                                                                       bankruptcy
On (date)                      , I served the following persons and/or entities at the last known addresses in this
                                                                                         envelope    in the United  States mail,
case or adversary proceeding by placing a true and correct copy thereof in a sealed                                        to the
                                                                 the judge   here constitut es a declarati on that mailing
first class, postage prepaid, and addressed as follows. Listing
judge will be completed no later than 24 hours    after the documen t is filed.




                                                                                           Service information continued on attached page

                                                                                                     OR EMAIL (state method
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION                                                    , I served
                                                                                            (date)
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                                 in  writing to
                                                                                       or (for those who  consente   d
the following persons and/or entities by personal delivery, overnight mail service,                                   declarati    on
                                                                 as follows.  Listing the  judge  here constitut es a
such service method), by facsimile transmission and/or email                                                      documen      t is
                                                 the judge will be complete  d no later than   24 hours after the
that personal delivery on, or overnight mail to,
filed.




                                                                                           Service information continued on attached page

                                                                                          is true and correct.
  declare under penalty of perjury under the laws of the United States that the foregoing



  Date                          Printed Name                                                   Signature




                                                                                                Court for the Central District of California.
           This form is mandatory. It has been approved for use in the United States Bankruptcy

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                                    PROOF OF SERVICE OF DOCUMENT
                                                                                                     address is 1901 Avenue of
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
the Stars, Suite 450, Los Angeles, CA 90067-6006.
                                                                                            OF MOTION AND MOTION
A true and correct copy of the foregoing document entitled (spec): DEBTOR'S NOTICE
                                                  DATE   FOR  PRE-PETITI    ON  CLAIMS   ; MEMOR     ANDUM OF POINTS
FOR ORDER ESTABLISHING CLAIMS BAR
                                                                                                        F will be served or
AND AUTHORITIES: DECLARATION OF MICHAEL A. MCCONNELL IN SUPPORT THEREO
                                                                                            (b)in the manner stated below:
was served(a)on the judge in chambers in the form and manner required by LBR 5005-2(d); and
                                                                                                    Pursuant to controlling General
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                                      hyperlink  to the document. On January 16,
Orders and LBR, the foregoing document will be served by the court via NEF and
                                                                             proceedin g and determine  d that the following persons
2020, I checked the CM/ECF docket for this bankruptcy case or adversary
                                                                          email addresses stated below:
are on the Electronic Mail Notice List to receive NEF transmission at the



                                                                                       D Service information continued on attached page.

                                                                                                  persons and/or entities at the last
2. SERVED BY UNITED STATES MAIL: On January 16, 2020, I served the following
                                                                                                copy thereof in a sealed envelope in
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
                                                                                            judge here constitutes a declaration that
the United States mail, first class, postage prepaid, and addressed as follows, Listing the
mailing to the judge will be completed no later than 24 hours after the document  is filed.

Debtor                                                                   Debtor
HVI Cat Canyon, Inc.                                                     HVI Cat CANYON,INC.
630 Fifth Avenue                                                         630 Fifth Avenue, Suite 2410
Suite 2410                                                               New York, NY 10111
New York, NY 10111


                                                                                        ❑ Service information continued on attached page.

                                                                                                      ISSION OR EMAIL (state
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL. FACSIMILE TRANSM
                                                                                                  on January 16, 2020, I served the
method for each person or entity served: Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
                                                                                                        consented in writing to such
following persons and/or entities by personal delivery, overnight mail service, or (for those who
                                                                                               constitutes a declaration that personal
service method), by facsimile transmission and/or email as follows. Listing the judge here
                                                                                                          is filed.
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document

Served by Personal Delivery to be delivered by January 17.2020
The Honorable Martin R. Barash
U.S. Bankruptcy Court
21041 Burbank Boulevard, Bin on 1St Floor outside entry to Intake Section
Woodland Hills, CA 91367
                                                                                        ❑ Service information continued on attached page.

 I declare under penalty of perjury under the laws of the United States that the forego



  January 16, 2020                        Vivian Servin
  Date                                    Printed Name




                                                                                                           the Central District of California.
          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for

 June 2012
                                                                                             F 9013-3.1.PROOF.SERVICE
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                                     ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")

  •    William C Beall            will@beallandburkhardt.com, carissa@beallandburkhardt.com

  •    Alicia Clough           aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com

  •    Marc S Cohen             mscohen@loeb.com, klyles@loeb.com

  •    Alec S DiMario alec.dimario@mhllp.com,
       debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

  •    Karl J Fingerhood              karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov

  • H Alexander Fisch                 Alex.Fisch@doj.ca.gov

  •    Don Fisher          dfisher@ptwww.com, tblack@ptwww.com

  • Brian D Fittipaldi               brian.fittipaldi@usdoj.gov

  •    Gisele M Goetz            gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu

  •    Karen L Grant             kgrant@silcom.com

  • Ira S Greene              Ira.Greene@lockelord.com

  •    Matthew C. Heyn               Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com

  • Brian L Holman                 b.holman@musickpeeler.com

  •    Eric P Israel         eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

  • Razmig Izakelian                 razmigizakelian@quinnemanuel.com

  • Alan H Katz               akatz@lockelord.com

  • John C Keith               john.keith@doj.ca.gov

  • Jeannie Kim               jkim@friedmanspring.com

  •     Maxim B Litvak              mlitvak@pszjlaw.com

  •     Michael Authur McConnell(TR)                        Michael.mcconnell@kellyhart.com

  • Brian M Metcalf                 bmetcalf@omm.com

  • David L Osias dosias@allenmatkins.com,
    bcrfilings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@allenmatkins.com

   • Darren L Patrick dpatrick@omm.com, darren-patrick-
     1373@ecf.pacerpro.com;sindelicato@omm.com;ejones@omm.com

   • Jeffrey N Pomerantz                  jpomerantz@pszjlaw.com

   • Todd C. Ringstad                 becky@ringstadlaw.com, arlene@ringstadlaw.com

                                                                                             Court for the Central District of California.
        This form is mandatory. It has been approved for use by the United States Bankruptcy

June 2012
                                                                                             F 9013-3.1.PROOF.SERVICE
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  •    Mitchell E Rishe            mitchell.rishe@doj.ca.gov

  • Zev Shechtman zshechtman@DanningGill.com,
    danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

  • Sonia Singh             ssingh@DanningGill.com, danninggill@gmail.com,ssingh@ecf.inforuptcy.com

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2. SERVED BY UNITED STATES MAIL:
REQUESTS FOR SPECIAL NOTICE

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                                                   Cummins &White, LLP                                William Winfield
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  Sacramento, CA 95825-8219                         San Luis Obispo, CA 93408-0001


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                                                 Department of Conservation, Division of
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Santa Barbara Air Pollution Control                                                                  United States Trustee
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                                                                                                    GIT Inc.
Epley Family Irrevocable Trust of 1998           Frank D Gonzales MD APC                            c/o Patricia B. Tomasco
c/o Jean F. Bacal, Trustee                       Gonzales Occupational Medicine Center              Devin van der Hahn
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                                                   Epiy Corporate Restructuring, LLC Claims           Jane Connolly
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